               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                           4:23-CR-3052

vs.                                                       ORDER

JOHNNY PALERMO,

                  Defendant.

      This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on a Guilty Plea recommending that the Court accept the
defendant's plea of guilty. There are no objections to the findings and
recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 11.2(d),
the Court has conducted a de novo review of the record and adopts the findings
and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation on a Guilty
           Plea (filing 193) are adopted.
      2.   The defendant is found guilty. The plea is accepted. The Court
           finds that the plea of guilty is knowing, intelligent, and voluntary,
           and that a factual basis exists for the plea.
      3.   The Court defers acceptance of any plea agreement until the time
           of sentencing, pursuant to Fed. R. Crim. P. 11(c)(3). Unless
           otherwise stated at the time of sentencing, any plea agreement will
           be deemed accepted upon the pronouncement of the judgment and
           sentence.
      4.   This case shall proceed to sentencing.

      Dated this 15th day of February, 2024.

                                          BY THE COURT:


                                          John M. Gerrard
                                          Senior United States District Judge
